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                         IN THE UNITED STATES DISTRICT COURT
                                      DISTRICT OF UTAH


  UNITED STATES OF AMERICA,
                                                         ORDER TO UNSEAL
         Plaintiff,                                      INDICTMENT

         vs.

  TIMOTHY WAYNE PATTAN,                                  1:21-CR-00009 DBB

         Defendant.                                      Judge David B. Barlow


       Based on the motion of the United States, and for good cause appearing, the Court hereby

Orders the Indictment and this case be unsealed.

       DATED this ______ day of October 2021.



                                                    ___________________________________
                                                    DAVID B. BARLOW
                                                    District Court Judge
